                           Case: 25-1560                 Document: 32                Page: 1              Date Filed: 04/16/2025


                                                         TRANSCRIPT PURCHASE ORDER
                                                              for Third Circuit Court of Appeals

          District Court     District Court of New Jersey                                Court of Appeals Docket No.       25-1560
                                                                                         District Court Docket No.         1:24-cv-04098
  Short Case Title Atlas Data Privacy Corp, et al. v. Quantarium Alliance LLC, et al.

  Date Notice of Appeal Filed by Clerk of District Court March 26, 2025

Part I.         (To be completed by party responsible for ordering transcript)                     NOTE: A SEPARATE FORM IS TO BE TYPED FOR
A.        Check one of the following and serve ALL COPIES:                                         EACH COURT REPORTER IN THIS CASE.

          TRANSCRIPT:
                     None                                          Unnecessary for appeal purposes.
          X          Already on file in the District Court Clerk’s office.
                     This is to order a transcript of the proceedings heard on the date listed below from                                       (Court Reporter)
          (Specify on lines below exact date of proceedings to be transcribed). If requesting only partial transcript of the proceedings, specify exactly what
          portion or what witness testimony is desired.




          If proceeding to be transcribed was a trial, also check any appropriate box below for special requests; otherwise, this material will NOT be
          included in the trial transcripts.

                     Voir dire                                            Open Statement of Plaintiff                        Opening Statement of Defendant
                     Closing Argument of Plaintiff                        Closing Argument of Defendant
                     Jury Instructions                                    Sentencing Hearings

          FAILURE TO SPECIFY IN ADEQUATE DETAIL THOSE PROCEEDINGS TO BE TRANSCRIBED OR FAILURE TO
          MAKE PROMPT SATISFACTORY FINANCIAL ARRANGEMENTS FOR TRANSCRIPT ARE GROUNDS FOR
          DISMISSAL OF THE APPEAL OR IMPOSITION OF SANCTIONS
B.        This is to certify that satisfactory financial arrangements have been completed with the court reporter for payment of the cost of the transcript.
          The method of payment will be:

                     CJA Form submitted to District Court Judge                             Motion for Transcript has been submitted to District Court
                     CJA Form submitted to Court of Appeals                                 Private Funds


Signature         /s/ Clair E. Wischusen                                             Date              April 16, 2025
Print Name        Clair E. Wischusen                                                 Counsel for
                                                                                                       Quantarium Alliance LLC and Quantarium Group LLC

Address
                  290 W. Mount Pleasant Avenue, Suite 3310, Livingston, NJ 07039
                                                                                     Telephone         703-650-7030
Part II. COURT REPORTER ACKNOWLEDGEMENT (To be completed by the Court Reporter and forwarded to the Court of
                Appeals on the same day transcript order is received.)
              Date transcript order        Estimated completion date; if not within 30 days of date financial arrangements       Estimated number
                    received                        made, motion for extension to be made to Court of Appeals                         of pages



                                                         Arrangements for payment were made on

                                                         Arrangements for payment have not been made pursuant to FRAP 10(b)


                              Date                                       Name of Court Report                                         Telephone

Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by court reporter
                on date of filing transcript in District. Court Notification must be forwarded to the Court of Appeals on the same date.)
                     Actual Number of Pages                                          Actual Number of Volumes


                               Date                                                                         Signature of Court Reporter
